         IN THE UNITED STATES DISTRICT COURT FOR THE
    EASTERN DISTRICT OF NORTH CAROLINA, SOUTHERN DIVISION


JOHNNY SMALL,                 )
                              )
            Plaintiff,        )
                              )
               v.             )                              Case No: 7:17 CV 00071-FL
                              )
CITY OF WILMINGTON, J.J.      )
LIGHTNER, DONNA BROWN, WAYNE )
NORRIS, DARRYL NESTER, JOSEPH )
NEUSCHAEFER, BRUCE HICKMAN,   )
UNKNOWN EMPLOYEES OF THE      )
WILMINGTON POLICE DEPARTMENT )                              JURY TRIAL DEMANDED
and UNKNOWN SURETY FOR THE    )
CITY OF WILMINGTON,           )
                              )
           Defendants.        )
                              )

                          MOTION TO WITHDRAW APPEARANCE

    NOW COMES Plaintiff, JOHNNY SMALL, by and through their attorneys, LOEVY &
LOEVY, and moves to withdraw Aisha Nicole Davis as counsel for Plaintiff.

In support, Plaintiff states as follows:

        1.    Attorney Aisha Nicole Davis will shortly be concluding her employment at Loevy
& Loevy, the law firm that represents Plaintiff, JOHNNY SMALL, in the above referenced
matter.

     2.      Plaintiff will continue to be represented by Jon Loevy, Gayle Horn, Tara
Thompson, Cindy Tsai, Tony Balkissoon & Katie Roche.

       3.     No prejudice will ensue to Plaintiffs or any other party if Ms. Davis is permitted
to withdraw her appearance in this matter.

       WHEREFORE, Plaintiffs respectfully requests that the Court enter an order permitting
the withdrawal of Aisha Nicole Davis’ appearance as counsel in this matter.




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                                                   RESPECTFULLY SUBMITTED,

                                                   /s/ Aisha N. Davis
                                                   Aisha N. Davis
                                                   Attorneys for Plaintiff



Jon Loevy, ILBN 6218254
Gayle Horn, ILBN 6286427
Tara Thompson, ILBN 6279922
Cindy Tsai, ILBN 6293973
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                               CERTIFICATE OF SERVICE

      I, Aisha N. Davis, an attorney, certify that on December 14, 2018, I served this Motion to
Withdraw Appearance on all counsel of record via the Court’s CM/ECF system.


                                                           /s/ Aisha N. Davis
                                                           Aisha N. Davis
                                                           Attorneys for Plaintiff


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